                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

 ILLINOIS NETWORK OF CHARTER                    )
 SCHOOLS, INTRINSIC SCHOOLS, and                )
 THE MONTESSORI NETWORK D/B/A                   )
 THE MONTESSORI SCHOOL OF                       )
 ENGLEWOOD,                                     )
                                                )
                    Plaintiffs,                 )
                                                )
                    v.                          )
                                                ) Case No.
 KWAME RAOUL in his official capacity           )
 as the Attorney General for the State of       )
 Illinois, The BOARD OF EDUCATION               )
 OF THE CITY OF CHICAGO, the                    )
 ILLINOIS STATE BOARD OF                        )
 EDUCATION                                      )
                                                )
                    Defendants.                 )
                                                )


          PLAINTIFFS' MOTION FOR LEAVE TO EXCEED PAGE LIMITATION
                 WITH RESPECT TO MEMORANDUM IN SUPPORT
               OF THEIR MOTION FOR PRELIMINARY INJUNCTION

                   Plaintiffs Illinois Network of Charter Schools, Intrinsic Schools, and the

Montessori Network d/b/a the Montessori School of Englewood, (collectively, "Plaintiffs") file

this motion to for leave to exceed the page limitation with respect to Plaintiffs' Memorandum in

Support of Their Motion for Preliminary Injunction, and respectfully request permission to file a

memorandum in support of no more than twenty-three (23) pages. In support of this motion,

Plaintiffs state as follows:

                   1.     On June 18, 2024, contemporaneously herewith, Plaintiffs filed their

Complaint for Declaratory and Injunctive Relief and Motion for Preliminary Injunction. Plaintiffs

also intend to file a Memorandum in Support of Their Motion for Preliminary Injunction.



4864-8201-3383v2                                                                          5298.006
                 2.    Local Rules provide that a brief in support of a motion shall not exceed

fifteen (15) pages without leave of the Court. See L.R. 7.1.

                 3.    Plaintiffs' three-count Complaint for Declaratory and Injunctive Relief

("Complaint") seeks a declaration that Illinois Public Act 103-0416 (the "Act"), which amended

Sections 105 ILCS 5/27A-3, 105 ILCS 5/27A-6, and 105 ILCS 5/27A-7 of Article 27A of the

Illinois School Code (the "Charter Schools Law"), is invalid because the Act purports to strip

charter schools of protections afforded to employers and employees under the National Labor

Relations Act ("NLRA") and the Illinois and the United States Constitutions. Count I alleges that

the Act violates the Supremacy Clause of the United States Constitution because it is preempted

by the NLRA. Count II alleges that the Act's content-based restrictions on speech, which prevent

Illinois charter schools from expressing any opinion on the issues of unionization of their

employees, violate the free speech provisions of the United States and Illinois Constitutions.

Count III alleges that the Act's requirement that charter schools grant property access to unions

constitutes an unlawful per se physical taking in violation of the United States and Illinois

Constitutions.

                 4.     By their Motion for Preliminary Injunction, Plaintiffs seek a preliminary

injunction preventing Defendants Kwame Raoul in his official capacity as the Attorney General

for the State of Illinois, the Board of Education of the City of Chicago, and the Illinois State Board

of Education from enforcing the Act pending an outcome on the merits of the underlying matter

because it is preempted by the NLRA and violates the constitutional rights of Illinois' charter

schools and their employees. Plaintiffs' proposed 23-page Memorandum in Support of Their

Motion for Preliminary Injunction details the Charter Schools Law and the Act's provisions

amending the Charter Schools Law; describes how the Act's provisions violate the U.S. and Illinois




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Constitutions; and demonstrates how Plaintiffs meet the standard for obtaining a preliminary

injunction by showing a likelihood of success on the merits, the lack of an adequate remedy at law,

and the irreparable harm caused by enforcement of the Act.

               5.      Given the legal complexity of the issues raised in Plaintiffs' Complaint and

their Motion for Preliminary Injunction, and the significance of the matter given the constitutional

challenge, Plaintiffs respectfully request that the Court allow them to exceed the fifteen (15) page

limit with respect to their Memorandum in Support of Their Motion for Preliminary Injunction.

The fifteen (15) page limit for the brief would be insufficient to address the numerous topics raised

in the Memorandum in Support of Their Motion for Preliminary Injunction in any more than a

superficial depth. Plaintiffs believe that a memorandum of no longer than twenty-three (23) pages

will allow for appropriate presentation of all the relevant issues to the Court.

               6.      If this Motion is granted, pursuant to Local Rule 7.1, Plaintiffs'

memorandum will include a table of contents and a table of cases.

               WHEREFORE, Illinois Network of Charter Schools, Intrinsic Schools, and the

Montessori Network d/b/a the Montessori School of Englewood, request that they receive leave to

file a Memorandum in Support of Their Motion for Preliminary Injunction in excess of the fifteen

(15) page limit, but not to exceed a total of twenty-three (23) pages.



Dated: June 18, 2024

                                            PLAINTIFFS ILLINOIS NETWORK OF CHARTER
                                            SCHOOLS, INTRINSIC SCHOOLS, and THE
                                            MONTESSORI NETWORK D/B/A THE
                                            MONTESSORI SCHOOL OF ENGLEWOOD


                                            By: /s/ Michael L. Sullivan                .
                                                One of Their Attorneys



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